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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA

vs. Case No.: 18-20393-CR-MGC
1:18-MJ-02629-EGT
SANDRA RUBALLO and
CARLOS MONTOYA,
Defendants.

/

 

SANDRA RUBALLO’S DOCUMENTS IN SUPPORT OF SATISFACTION
OF NEBBIA REQUIREMENT

COMES NOW, the defendant Sandra Ruballo by and through her
undersigned counsel and hereby provides the below listed documents in support of
the Nebbia requirement placed on the bond in this matter by Magistrate Judge
Patrick A. White on May 1, 2018. Undersigned counsel has conferred with
Assistant Untied States Attorney Anne McNamara who had previously agreed to a
portion of the bond ($47,000) being in compliance with Nebbia but does not agree
to stipulate to Nebbia being satisfied for the remaining $54,000. Therefore,
undersigned counsel set this matter for a hearing before this court and is providing
all documents for this court’s consideration in advance of the hearing.

1. On May 1, 2018, after a hearing was held, this Court determined that the

defendant, Sandra Ruballo, was entitled to a bond and set that bond at

$500,000 20% bond with two co-signors and a Nebbia condition.

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2. The $100,000', 20% of the $500,000 bond, is made up of two payments.
$46,000 is from a line of credit (open end mortgage) from PNC Bank that
was taken out on the defendant and her husband’s home located at 1485
SW 97" Way, Davie Florida 33324. The balance of the funds, $54,000,
will be withdrawn as a complete cash out of the defendant’s IRA
retirement plan that is currently valued at $61,270.02 and is held and
invested by Oppenheimer Funds. The bond will be co-signed by the
defendant’s husband Ronaldo Ruballo who is a United States Citizen and
has been married to Sandra Ruballo for the past 6 years. They have
known each other since they were sixteen years old. Mr. Ruballo owns
his own company and is the co-owner and obligor on the home and the
line of credit. The second co-signor on the bond is the defendant’s mother
Silvia Solorzano who is also a United States Citizen and who resides in
Cape Coral Florida.

3. Attached to this pleading are documents listed as Composite Exhibit “A”
relating to the defendant’s residence and the line of credit. In May of
2011 Sandra Ruballo and her children moved into the residence in Davie
Florida. Initially, Mrs. Ruballo leased the home with an option to buy. In

2013 Sandra and Ronaldo Ruballo purchased the home from the owner for

 

1 The money deposited to satisfy the 20% bond will be assigned to undersigned counsel to help satisfy legal fees
for representation in this matter.

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$375,000. In 2016, they refinanced the home for a 30 year mortgage
term. The loan documents (attached in composite exhibit A) list the
appraised value of the home at $400,000. In March of 2018, Sandra and
Ronaldo Ruballo took an open-end mortgage/ home equity line of credit
on their home through PNC Bank (the Choice Home Equity Line of Credit
agreement and Disclosure Statement and the Florida Documentary Tax
documents are attached hereto in composite exhibit A). The total line of
credit was $110,000. Sandra Ruballo had previous debts totaling
$62,805.00. Accordingly, only $47,000 remains available on the $110,000
line of credit. On May 2, 2018 the $47,000 was withdrawn from the line
of credit and will be will be posted with the clerk of the court to satisfy a
portion of the 20% bond. (see Summary Account Activity from Home
Equity Credit Line attached in composite exhibit A)

4. As stated above, undersigned counsel had previously spoken with
Assistant United States Attorney Anne McNamara about the defendant’s
residence located at 1485 Southwest 97" Way in Davie, Florida being
used for the bond. The government had no objection to the residence (or
the defendant’s Cape Coral duplex) being used to support the bond and
satisfy Nebbia. Therefore only the balance of $53,000 remains at issue for

this court’s Nebbia determination.

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5. Sandra Ruballo has been employed as the Executive Director of Highland
Food Resources, Inc, a not for profit corporation, since 2002. She is
compensated by the State of Florida and her salary and her employees
salaries are regulated and set by law. As part of every employees’ payroll
compensation, 4% of the total gross of their salary is automatically
contributed by Highland Food Resources to a retirement plan through a
SEPP (Simplified Employee Pension Plan). All employee salary
retirement contributions were held by Highland and submitted directly to
the investment company- Oppenheimer Funds. Sandra Ruballo has been
receiving retirement plan contributions since January 2005.

6. The current market value of Sandra Ruballo’s payroll compensation
retirement contribution as of March 31, 2018 is $61,270.02 (See January
1-March 31, 2018 Account Statement from Oppenheimer Funds for
Sandra Ruballo attached hereto as exhibit “B”). When Sandra Ruballo
withdraws the funds from Oppenheimer to support this bond she will be
assessed an automatic 10% penalty (approximately $6,127) and she will
be responsible for the taxes on those funds as well. If the market value
remains at or around the same as the last statement received and attached

hereto and with the penalties assessed off the top there will be

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approximately $55,143.018 available to post with the clerk of the court to
satisfy the remaining $53,000 of the bond.

WHEREFORE, undersigned counsel requests this court enter an order
finding the Nebbia condition has been satisfied by the following sources and are
not illegally derived and therefore the bond to secure the release of Sandra Ruballo
may be posted:

1) $47,000 from a home equity line of credit from PNC Bank and

2) $53,000 from Sandra Ruballo’s deferred salary retirement plan from

Oppenheimer Funds.
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was
eFiled with the Clerk of the Court by using the CM/ECF system which will send a
notice of eFiling to all interested parties this 16" day of May, 2018.
Respectfully submitted,
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MYCKI RATZAN, ESQUIRE

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